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IN THE UNITED sTATEs DISTRICT COURT
FOR THE wEsTERN DISTRICT OF TENNESSEE 05 AUB ~l AH|O= 32
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W¢LAS_M.GO§._R.D
UNITED sTATEs oF AMERICA, Wf[‘; 115 §§Hi,:`.f§?f?ri$
vs. No. 02-20023-Ma

NICKELL JACKSON,

Defendant.

 

ORDER FOR MENTAL EVALUATION OF DEFENDANT

 

Before the court is the oral motion of counsel for defendant
requesting an in-patient mental evaluation of Nickell Jackson
pursuant to 18 U.S.C. § 4241 and § 4247(b} and {c). Based upon
the record and statements of counsel, the defendant Nickell
Jackson is ordered to undergo a complete mental evaluation at a
suitable federal facility to determine whether he is mentally
competent to understand the nature and consequences of the
proceedings against him and to assist properly in his own
defense.

It is so ORDERED this ?'quay of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

